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5

6    Attorneys for Plaintiff
     United States of America
7
                                  IN THE UNITED STATES DISTRICT COURT
8
                                        EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR-225-LJO-SKO
11
                                 Plaintiff,
12                                                       STIPULATION AND ORDER TO CONTINUE
                           v.                            STATUS CONFERENCE
13
     HERMINE HAMBARTSUMYAN,
14
                                 Defendant.
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                                                 BACKGROUND
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            This matter is currently scheduled for a status conference on January 22, 2019 as to defendant
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     Hambartsumyan. Co-defendant Phaphonh appeared at a status conference on January 7, 2019. During
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     that status conference, the assigned magistrate judge set a further status conference date for March 4,
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     2019, and requested that counsel for the United States determine if both defendants could appear at that
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     status conference. The parties therefore request that the status conference be continued to March 4,
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     2019. Counsel agree that time between the current date of the status conference and the November 9
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     should be excluded under the Speedy Trial Act for defense preparation and continuity of counsel.
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            A proposed order appears below.
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1                                          STIPULATION AND ORDER
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              IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
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     attorneys, that the status conference currently set for January 22, 2019 be continued to March 4, 2019. Time
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     shall be excluded from January 22, 2019 to March 4, 2019 under the Speedy Trial Act for defense
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6    preparation and continuity of counsel. The Court finds that the ends of justice outweigh the interest of the

7    defendant and the public in a speedy trial.

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9                                                                   Respectfully submitted,
10                                                                  McGREGOR W. SCOTT
                                                                    United States Attorney
11
     DATED: January 15, 2019                                By:     /s/ Michael G. Tierney _____ ______
12                                                                  Michael G. Tierney
                                                                    Assistant United States Attorney
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14
     DATED: January 15, 2019                                By:     /s/ Roger T. Nuttall____    ______              _
15                                                                  Roger T. Nuttall
                                                                    Attorney for Hermine Hambartsumyan
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18   IT IS SO ORDERED.
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     Dated:     January 16, 2019                                    /s/   Sheila K. Oberto               .
                                                         UNITED STATES MAGISTRATE JUDGE
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